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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,
                                                              20-CR-191-LJV
           v.
                                                         NOTICE OF MOTIONS
JUAN PADUA,                                           IN LIMINE BY DEFENDANT
                  Defendant.
___________________________________

MOTION BY:                            Fonda Dawn Kubiak, Assistant Federal Public
                                      Defender.

DATE, TIME & PLACE:                   Before the Honorable Lawrence J. Vilardo, United
                                      States District Judge, Robert H. Jackson United
                                      States Courthouse, 2 Niagara Square, Buffalo, New
                                      York, on October 13, 2021 at 11:00 a.m.

                                      In addition, the defense intends to submit reply
                                      papers in reply to the government’s response to
                                      these motions.

SUPPORTING PAPERS:                    Memorandum of Assistant Federal Public Defender
                                      Fonda Dawn Kubiak, dated September 20, 2021.

RELIEF REQUESTED:                     An Order of this Court for the following relief:

                                      I.         Suppress Mr. Padua’s Post-Arrest Custodial
                                                 Statement after his Assertion Sixth
                                                 Amendment Right to Counsel;

                                      II.        Preclude testimony, comments or arguments
                                                 regarding Mr. Padua’s post-arrest assertion
                                                 his Fifth and/or Sixth Amendment rights;

                                      III.       Preclude the Government from admitting
                                                 evidence or testimony from any witnesses
                                                 regarding prior bad acts, and Response to
                                                 Government’s Motion to Introduce a Prior
                                                 Bad Acts under F.R.E. 404(b);




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                              IV.       Denying Government’s Motion to
                                        Preclude Defendant from Introducing
                                        Self-Serving Hearsay through Cross-
                                        Examination of Government Agents;
                                        in the alternative granting Mr. Padua’s
                                        Motion to Admit his Statements Against
                                        Penal Interest to Exculpate;

                              V.        Preclude the Government from admitting
                                        evidence or testimony from any witnesses
                                        regarding: (a) Mr. Padua’s “Threats”
                                        regarding co-defendant, Michael Vasquez;
                                        Mr. Padua’s prior drug dealing as contained
                                        in his videotaped interrogation, and
                                        (c) the fact he was a victim of a shooting
                                        pursuant to F.R. E. 404(b);

                              VI.       Preclude Cross-Examination of Mr. Padua
                                        Regarding Certain Prior Convictions
                                        Pursuant to F.R.E., 609(b)

                              VII.      Preclude Statements By Non- testifying Co-
                                        Conspirators; prohibit the Government from
                                        introducing Co-Defendant, Michael
                                        Vasquez’s, Statement; and Severance;

                              VIII.     Preclude the Government from introducing
                                        Co-Defendant, Michael Vasquez’s Plea
                                        Allocution in the event Mr. Vasquez enters a
                                        guilty plea prior to the start of this trial;

                              IX.       Conduct a Pretrial Conspiracy Hearing

                              X.        Preclude Government from Conditionally
                                        Admitting Evidence;

                              XI.       Preclude Cellphone Extraction and
                                        Governments Expert Witness Due To
                                        Government’s Failure To Comply With
                                        Rule 16 and Obligation To Timely De-
                                        encrypt and Produce Electronic Evidence;

                              XII.      Preclude Any Law Enforcement Fact
                                        Witnesses From Testifying As An Expert;




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                                  XIII.   Reserving the right to file additional
                                          motions; and

                                  XIV. Such other and further relief as this Court
                                       deems just and fair.



DATED:                            Buffalo, New York, September 20, 2021.

                                  Respectfully,

                                  /s/ Fonda Dawn Kubiak
                                  Fonda Dawn Kubiak
                                  Assistant Federal Public Defender
                                  Federal Public Defender’s Office
                                  300 Pearl Street, Suite 200
                                  Buffalo, New York 14202
                                  (716) 551-3341, (716) 551-3346 (Fax)
                                  fonda_kubiak@fd.org
                                  Counsel for Defendant Juan Padua


                                  /s/ Carla Benz
                                  Carla Benz
                                  Assistant Federal Public Defender
                                  Federal Public Defender’s Office
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                                  Counsel for Defendant Juan Padua


                                  /s/ Timothy P. Murphy
                                  Timothy P. Murphy
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                                  Timothy_Murphy@fd.org
                                  Counsel for Defendant, Juan Padua




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TO:   Charles Watkins , Assistant United States Attorney
      P. Richard Antoine, Assistant United States Attorney




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,                                           20-CR-191-LJV

              v.
                                                                   AFFIRMATION
JUAN PADUA,

                  Defendant.
___________________________________



       FONDA DAWN KUBIAK, affirms under penalty of perjury, that I am an Assistant

Federal Public Defender and represent Mr. Padua in this case. I submit this affirmation in

support of various pre-trial rulings for the trial scheduled to commence on October 25, 2021.

                                 Procedural History and Facts

       On July 22, 2020, members of the United States Postal Inspection Service (USPIS)

executed a federal search warrant on a suspicious parcel. The parcel contained approximately a

kilogram of cocaine (1003.2 grams). The parcel was addressed to “Natalia Padua, 174 Germain

Street, Upper, Buffalo, N.Y.” After the execution of the parcel search warrant, there was also a

transmitter placed inside of the repackaged parcel that would emit a notification to the agents upon

the parcel being opened, the seized cocaine was removed. The parcel was repackaged with “sham”

replacing the cocaine.

       On July 23, 2021, Juan Padua was at his house on 174 Germaine Street in the City of

Buffalo, New York. Around 2:27 p.m., DEA then set up surveillance on the target residence while

the USPIS delivered the parcel. There was a storm door on the target residence. There was a sign

written on the storm door that read “please leave packages in the hallway. Thank you.” The parcel

was placed inside the storm door. Shortly after the parcel was delivered, a black Dodge Ram



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pickup truck arrived at the house. Michael Vasquez exited the passenger seat of the truck and

walked onto the porch of the house, and then entered. The agents then proceeded to the target

residence, knocked on the door and announced their presence. Juan Padua came downstairs from

the upper apartment and answered the door. He was immediately taken into custody. Once the

agents made entry into the upper apartment, they encountered Michael Vasquez. He was taken into

custody. The agents then searched the home and discovered the contents of the parcel. The contents

(the sham) were discovered in the backyard of the residence next door. The actual parcel was found

in the attic. Both Mr. Pauda and Mr. Vasquez were arrested. Both are charged in a two count

Indictment filed on December 9, 2021, (Docket No. 13), charging Juan Padua with Narcotics

Conspiracy in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B), all

in violation of Title 21, United States Code, Section 846, and Attempt to Possess with Intent to

Distribute 500 Grams or More of Cocaine in violation of Title 21, United States Code, Section 846

and Title 18, United States Code, Section 2.

       Presently, both defendants have persisted in their pleas of not guilty and deny the existence

of a narcotics conspiracy, deny that they attempted to possess with intent to distribute 500 grams

or more of cocaine and further deny that the actions alleged by the government were willful,

knowing and intelligent as required by law. As set forth below, Mr. Padua objects to the

Government’s Motions in Limine (Dkt. No. 71), and submits additional Motions In Limine to

address several evidentiary and pre-trial matters.


                I.     Suppression of Mr. Paduas Post- Arrest Statement Following
                       his Invocation of Counsel

       In its trial brief, the Government indicates that Mr. Padua made a statement at the time of

his arrest (Dkt. No. 68, Govt. Ex. 10), which will be recounted by Government witnesses (Docket

No. 70, pp.15, 16). They argue that this statement is not hearsay pursuant to Federal Rule of


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Evidence 801(d)(2)(A), is highly relevant pursuant to Rule 401, and is not unduly prejudicial

pursuant to Rule 403. Accordingly, they submit that this statement should be admitted in their

case-in-chief.

       Mr. Padua objects, and hereby moves in limine to suppress his post-arrest statements as

they were made while he was in custody after invoking his right to counsel. Mr. Padua requests

this Court suppress this statement and preclude the Government from admitting it in its case-in-

chief at trial. Mr. Padua maintains that that there are no issues of fact that would require additional

testimony at a hearing in order for this Court to make a determination on the invalidity of this

statement. In the event this Court determines that a pretrial hearing is necessary, we submit that

it would be very brief and could be handled at the time of the final pretrial conference.

       This Court is asked to consider an important constitutional issue. Mr. Padua invokes his

right to counsel (post-Miranda) at approximately 5 minutes and 43 seconds into his videotaped

interrogation with the DEA on February 21, 2021. Specifically, Mr. Padua states that

"that's what I mean-that's why maybe I should have a lawyer to see if it can be justified…doesn't

make any sense." In response, the Agent says “if you don't want to talk that's fine-but lying just

makes it worse-so don't do that.” Mr. Padua then says “how do I not talk then.” At approximately

7 minutes and 26 seconds into the interrogation, both DEA agents present acknowledged on

videotape that Mr. Padua had invoked his right to counsel. All statements made after that point

should be suppressed. Specifically, Special Agent Christopher Wisniewski turned to Special

Agent David Turner and say “we need to stop-he wanted a lawyer.”

      This suppression motion falls under Federal Rule of Criminal Procedure 12(b)(3)(C) as a

motion that must be made before trial. Though the Government may argue that this application

may be deemed as untimely by this Court, the issue should still be considered as good cause

exists for resolving this pertinent issue. See, Fed. R. Crim. P. 12(c)(3). To begin with, the defense


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seeks no strategic advantage in making this motion at this time. The defendant’s statements

made in the videotaped interview have simply been reevaluated by the defense in light of the

government’s numerous September 13, 2021 filings as well as the Magistrate Judges denial of

Mr.Padua’s pretrial motion to preclude statements of non-testifying co-conspirators and

severance. See Dkt. Nos. 36 and 49. Secondly, defense counsel has an ethical obligation to

preserve and litigate this issue on behalf of Mr. Padua. Third, the resolution of this issue is

largely a legal determination to be made upon review of the approximately 16-minute videotape

in question. It does not appear that live testimony will be warranted. All that the Court must

determine is whether Mr. Padua made an unambiguous invocation of counsel. The Court’s

valuable resources will thus not be unduly burdened. Fourth, the government has not been

prejudiced by the timing of this motion. The trial in this matter is not scheduled to commence

until October 25, 2021, more than a month away. See, Dkt. 56, at p. 1 (pretrial scheduling order).

       Finally, there is great merit to this motion, as it is black letter law that statements

following the unambiguous invocation of counsel must be suppressed. See, Davis v. United

States, 512 U.S. 452, 458 (1994), citing Edwards v. Arizona, 451 U.S. 477, 484-485 (1981)

(recognizing that if a suspect requests counsel at any time during the interview, he is not subject

to further questioning until a lawyer has been made available or the suspect himself reinitiates

conversation). As the Supreme Court has further observed:

               This “second layer of prophylaxis for the Miranda right to counsel,”
               … is “designed to prevent police from badgering a defendant into
               waiving his previously asserted Miranda rights,” … To that end,
               we have held that a suspect who has invoked the right to counsel
               cannot be questioned regarding any offense unless an attorney is
               actually present.

Davis, 512 U.S. at 458 (internal citations omitted); see also, United States v. Gonzalez, 764 F.3d

159, 165-166 (2d Cir. 2014). As both experienced DEA agents believed Mr. Padua had invoked

his right to counsel during the February 21, 2021 interrogation, this Court is likely to agree with

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the defendant’s argument for suppression. See, Davis, 512 U.S. at 459, citing McNeil v. Wisconsin,

501 U.S. 171, 178 (1991) (observing that invocation of the Miranda right to counsel “requires, at

a minimum, some statement that can reasonably be construed to be an expression of a desire for

the assistance of an attorney”).

      In sum, all post-invocation statements made by Mr. Padua on February 21, 2021 should be

suppressed.


       II.     Preclude testimony, comments or arguments regarding Mr. Padua’s post-
               arrest assertion his Fifth and Sixth Amendment rights

       Mr. Padua moves in limine to preclude the Government from conveying to the jury, Mr.

Padua’s post-arrest assertion his of Fifth and/or Sixth Amendment rights through direct

examination, cross-examination, opening statements, or closing argument. It is well-established

that a defendant's post-arrest silence, after Miranda warnings have been provided, is not admissible

in the prosecution's case-in-chief, or for impeachment purposes. See Griffin v. California, 380

U.S. 609, 615, 85 S. Ct. 1229, 14 L. Ed. 2d 106 (1965), ("[T]he Fifth Amendment . . . forbids

either comment by the prosecution on the accused's silence or instructions by the court that such

silence is evidence of guilt."); Doyle v. Ohio, 426 U.S. 610, 618-19, 96 S. Ct. 2240, 49 L. Ed. 2d

91 (1976) (holding use of a defendant's post-arrest silence, after Miranda warnings have been

provided, to impeach the defendant violates due process).


     III.       Preclude the Government from admitting evidence or testimony from
                any witnesses regarding prior bad acts, and Response to
                Government’s Motion to Introduce a Prior Bad Acts under F.R.E.
                404(b)

       As set forth in more detail below, Mr. Padua also moves to preclude any impeachment

on the comments made by Mr. Padua during his DEA videotaped interrogation on February 21,

2021, specifically around 12 minutes and 21 seconds into the interview. See Dkt. No. 68, Govt.


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Ex. 10. At that time, Mr. Padua made a passing reference upon showing law enforcement a scar

from a prior robbery from when he purportedly used to sell drugs at some point in time. See Dkt.

71, at p. 2 (F.R.E. 404(b) notice). However, Mr. Padua then immediately followed up with

another comment denying he that sold drugs. These ambiguous and unreliable comments were

made approximately 7 minutes after Mr. Padua had invoked his right to counsel (which occurred

approximately 5 minutes and 43 seconds into the interrogation). As otherwise indicated herein,

counsel is moving to suppress all of Mr. Padua’s statements following his invocation of counsel.

       Moreover, the probative value of such a passing comment does not substantially

outweigh its obvious prejudicial effect in a drug prosecution such as ours. In his August 4, 2020

discovery demand letters, Mr. Padua requested disclosure pursuant to Rule 404(b) of the Federal

Rules of Evidence. See Dkt. No. 78, Exhibit A. Prior to the Government’s September 13, 2020

trial submission (Dkt. No. 71), the government failed to respond to prior requests for its 404(b)

notice. In the Government’s Motion In Limine, it now sets forth the exact nature of the "prior

act" evidence that the government seeks to introduce. Dkt. No. 71.

       The Government now seeks to introduce a single, five-second statement made by Juan

Padua selected from a recorded interrogation by DEA agents. Fourteen minutes into that

interrogation, and after invoking his right to counsel, Mr. Padua is asked by one of the agents to

identify any scars on his body. Mr. Padua stands up and shows the agents a scar on his chest from

a bullet wound that entered his body through his chest and exited through is back. The following

conversation transpires between Mr. Padua and the agent:

       “Agent: What was that from?
       Mr. Padua: I was in a robbery, back when I used to sell drugs, guy robbed me, ever since
       then I don’t sell drugs.” 14:16 {Dlt. No. 68, Govt. Ex. 10}.


        This stand-alone statement in a 16-minute long interrogation filled with otherwise

 completely exculpatory statements made by Mr. Padua does not pass muster under the

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 applicable test for admissibility of other bad acts under F.R.E. Rule 404(b). The government’s

 motion should therefore, be denied. It is well-settled that the admission of character evidence

 to prove a defendant’s propensity is strictly prohibited. Indeed, Rule 404(b) only permits the

 limited admission of “prior bad acts” if the evidence satisfies some other proper evidentiary

 purpose, such as proving “motive, opportunity, intent, preparation, plan, knowledge, identity,

 absence of mistake, or lack of accident.” FED. R. EVID. 404(b). Courts have recognized that:

        The problem with propensity evidence is that it “weigh[s] too much with the
        jury [because it] over persuade[s] them as to prejudge one with a bad general
        record and den[ies] [the defendant] a fair opportunity to defend against a
        particular charge,” without limitations based on whether the charged and
        uncharged acts are the same.

 United States v. Smith, 725 F.3d 340, 347 (3d Cir. 2013) (quoting Michelson v. United States,

 335 U.S. 469, 476 (1948)). The purpose of Rule 404(b), therefore, is to protect an accused’s

 constitutional right to a fair trial from the tendency that character evidence has to be given undue

 weight by the jury.

       The Supreme Court has established, and the Second Circuit has adopted, a four-prong test

to determine whether evidence of the other crimes, wrongs or acts is admissible under Rule 404(b).

See Huddleston v. United States, 485 U.S. 681 (1988); United States v. Scarfo, 850 F.2d 1015 (3d

Cir.), cert. denied, 488 U.S. 910 (1988). To be admissible, the proponent of the Rule 404(b)

evidence must persuade the court the proffered evidence: (1) the prior act evidence was offered

for a proper purpose; (2) the evidence was relevant to a disputed issue; (3) the probative value of

the prior act evidence substantially outweighed the danger of its unfair prejudice; and (4) the court

administered an appropriate limiting instruction.” Depree, 870 F.3d at 78, citing Garcia, 291 F.3d

at 136; see also, United States v. Krug, 2019 U.S. Dist. Lexis 96894, at *9-10, 2019 WL 2416803

(WDNY 2019), citing United States v. Cadet, 664 F.3d 27, 33 (2d Cir. 2011).




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       Accordingly, where the Government asserts that it intends to offer other act evidence for

such proper purposes, "this does not end the inquiry. . . . Rather, the court must also determine

whether the proffered evidence is relevant to that proper purpose under Federal Rules of Evidence

401 and 402, and if so, whether that probative value is substantially outweighed by any risk of

unfair prejudice under Federal Rule of Evidence 403." United States v. Kahale, 789 F. Supp. 2d

359, 385 (E.D.N.Y. 2009). As to relevance, the proponent must demonstrate that the other acts

are "'sufficiently similar to the conduct at issue to permit the jury reasonably to draw from that act

the knowledge [and intent] inference[s] advocated by the proponent of the evidence.'" United

States v. Afjehei, 869 F.2d 670, 674 (2d Cir. 1989) (quoting United States v. Peterson, 808 F.2d

969, 974 (2d Cir. 1987)). In light of these principles, the proposed testimony should be precluded.

       The only purpose the Government now moves to introduce this statement at trial is for

propensity, offered for the sole reason to attempt to paint Mr. Padua as a man who at one time may

have sold drugs and therefore must be in a conspiracy with Michael Vasquez to sell drugs in this

case. This is clear from the fact that the facts and circumstances surrounding any prior alleged drug

dealing are completely unknown and speculative. While the Government seeks introduction of the

statement on the basis that it “helps prove the defendants’ motive, intent, plan and knowledge of

their conspiracy and attempted possession with the intent to distribute the cocaine,” the argument

it empty of any analysis or argument to support that position. The Government simply goes on to

state that “this evidence helps prove the defendants’ true intent – to possess with the intent to

distribute, and to distribute, cocaine” or, in other words, that Mr. Padua stated he used to sell drugs

so it must be so that he possessed drugs with the intent to sell them in this case – which is exactly

the type of evidence Rule 404 (b) aims to exclude. But if the government’s broad interpretation of

the “intent” exception to 404(b) were accepted, it would be so wide that the exception would

swallow the general rule against prior bad act testimony. The government’s argument fails for a


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variety of reasons: first, this is purely propensity evidence and should be precluded under FRE

404(b); second, the robbery that Mr. Padua spoke of in the video occurred in 2005, over 15 years

ago and is therefore too attenuated to ever prove a present day intent of the defendant to sell drugs;

third, Mr. Padua lacks any criminal history whatsoever in relation to not just drug dealing, but even

drug possession and there is no corroboration whatsoever for the one second statement in the video.

       Most critically, the statement regarding when Mr. Padua used to sell drugs was in response

to a question regarding a scar on his abdomen. In December of 2005, when Mr. Padua was eighteen

years old, he was the victim of a robbery and was shot in the abdomen. See Dkt. No.35, Ex. A -

medical record of Mr. Padua. This occurred fifteen years prior to the charged conduct in this case.

The government posits no argument surrounding the attenuation of the statement regarding Mr.

Padua being a drug dealer fifteen years ago. It simply argues that the evidence will prove motive,

intent, plan, and knowledge of the conspiracy in this case. Implying that a thirty six year old man

has the same intent that he had when he was a teenager flies in the face of common sense and the

passage of time. Indeed, even if Mr. Padua had a far more reliable arrest or conviction for drug

dealing that was fifteen years old, the government would still face an uphill battle in trying to

introduce it to the jury. See FRE 609.

       Additionally, the government possesses zero information regarding the alleged prior bad

act that Mr. Padua was a drug dealer fifteen years ago. His criminal history is devoid of any charged

conduct in relation to not just the sale of drugs, but even the simple possession of a controlled

substance. See Dkt. (pre-trial bail report). There is no corroboration the government can offer to

support its proposed introduction of the recorded statement of Mr. Padua.

       In sum, the government’s submission in this regard falls short of assuring this Court that

defendant’s ability to defend himself will not be unfairly prejudiced by this testimony.




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        IV.     Denying Government’s Motion to Preclude Defendant from Introducing
                Self-Serving Hearsay through Cross-Examination of Government Agents; in
                the alternative granting Mr. Padua’s Motion in Limine to Admit his
                Statements Against Penal Interest to Exculpate.


       In the event the Court denies the aforementioned motions for Suppression and Preclusion,

then Mr. Padua moves this Court to permit him to introduce the exculpatory portions of his

custodial interrogation. Before an exculpatory statement is admitted or can be made in the

presence of the jury, the court must make a preliminary finding pursuant to Rule 104(b) that

sufficient corroborating evidence has been offered. See United States v. Hawkins, 803 F.3d 900

(7th Cir. 2015). This should be done at a hearing immediately before trial. See Rule 17.1, Fed.

R. Crim. P. This hearing is particularly critical in this case because the government failed to

identify - in its motion to preclude - any potential portions of Mr. Padua’s statement that it

intends to introduce at trial. Dkt. 71, pg. 8-9.

       After Mr. Padua was arrested on July 23, 2020, he was immediately taken to an interview

room where he was interrogated by DEA Special Agent David Turner and DEA Special Agent

Christopher Wisniewski. The interview lasted just under sixteen minutes. Throughout his time

in the interrogation room, Mr. Padua repeatedly expressed anger over his arrest, shock about

what he was being charged with, and made no admissions as to any criminal conduct. As such,

any non-exculpatory snippets the government attempts to play for the jury would certainly be

taken out of context. Any attempt by the government to limit the video taped statement are in

hopes that the jury would not get a full picture of Mr. Padua’s role in this case.

       The government should be precluded from picking and choosing what portions of the

short statement to play under both Federal Rule of Evidence 804(b)(3)(B) and Federal Rule of

Evidence 106. Mr. Padua’s interview in its entirety falls under the hearsay exception, statements

again penal interest. At the time the statement was made, Mr. Padua was in the midst of being


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interrogated by two DEA agents and was certainly exposed to criminal liability. Additionally,

his statements are corroborated by not only the lack of evidence in this case but also the recorded

statements of his co-defendant, Michael Vasquez who repeatedly told the same DEA agents that

Mr. Padua had nothing to do with this.

        Additionally, the rule of completeness requires Mr. Padua’s recorded statement to be

played in its entirety. Under Federal Rule of Evidence 106, if a party introduces all or part of a

writing or recorded statement, an adverse party may require the introduction at that time, of any

other part – or any other writing or recorded statements – that in fairness ought to be considered

at the same time. In fact, the rationale for the rule is written directly into the text – as long as

admission was necessary for a fair outcome, the common law rule of completeness could be

applied. Based on the length of the statement which was almost exclusively exculpatory, any

cherry picked language from the government will be inherently misleading, accordingly, if any

of the statement is entered into evidence, the entirety of the statement must follow.

   V.          Preclude The Government from admitting evidence or testimony from any
               witnesses regarding Mr. Padua’s “Threats” regarding co-defendant, Michael
               Vasquez; Mr. Padua’s prior drug dealing as contained in his videotaped
               interrogation, and the fact he was a victim of a shooting Pursuant to F.R. E.
               404(b)


        The government has also indicated that it intends to offer into evidence statements Mr.

Padua made during a sixteen (16) minute videotaped post-arrest interrogation by two D.E.A.

agents on July 23, 2020. See Dkt. No. 68, Govt. Ex. 10. Mr. Padua moves, in Limine, for this

Court to preclude any statements made during his post-arrest recorded interview that may be

construed by the jury as threats to his co-defendant, statements made in regards to his criminal

history, and any mention about him being a drug deal in the past or references to a shooting because

it is irrelevant and inflammatory, and is only being offered to show propensity. Fed. R. Evidence

402; 403; 404(b).

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       The Government has not specifically sought admission of these acts other than the above

reference to Mr. Padua being a drug dealer in the past, but should they seek to introduce Mr.

Padua’s recorded interview from June 23, 2020, defense asks the Court to order various prejudicial

portions of the statement redacted.

       Mr. Padua seeks redaction of the following statements:

   1. “…cause I told you guys I’m not incriminating that fuckin asshole cause I’m not getting

       killed - if he had something to do with it I’ll deal with him when I get out…write that down

       I’m going to beat the living shit out of him.” 00:42 – 1:07.

   2. “Agent 1: Have you ever been arrested before?
       Agent 2: Yes he has.
       Agent 3: he’s on probation right now.
       Juan Padua: For a burglary.
       Agent 2: What’s your probation officer’s name?
       Juan Padua: I don’t even know her name, they just switched me to someone else.
       Agent 2: that’s alright, we’ll reach out to him.” 15:30 – 15:50.

   3. “I looked at your criminal history, I know what you were up to, you’re not an angel but

       you’re not a multi-national drug dealer either dude.” 4:31- 4:44.

       Any potential probative value of this evidence is substantially outweighed by the risk of

unfair prejudice when it tends to have some adverse effect upon the defendant beyond tending to

prove the fact or issue that justified its admission. United States v. Kuthuru, 665 Fed. Appx. 34,

39 (2d Cir. 2016) (unpublished opinion), citing United States v. Figueroa, 618 F.2d 934, 943 (2d

Cir. 1980). The probative value of each of the above portions of Mr. Padua’s statement is

substantially outweighed by any risk of unfair prejudice and should therefore be precluded under

Federal Rule of Evidence 403.




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       VI.     Preclude Cross-Examination of Mr. Padua Regarding Certain Prior
               Convictions Pursuant F.R.E., 609(b)

       In the event the Mr. Padua testifies at trial, the Government should be precluded from

utilizing Mr. Padua’s prior convictions to impeach his credibility. Such a result is mandated by

Rule 609(b) of the Federal Rules of Evidence. See, F.R.E., 609(b). That rule precludes the

admissibility of convictions more than ten years old. See, Id. Furthermore, the probative value of

admitting this evidence is far outweighed by its prejudicial affect to Mr. Padua. See, F.R.E.,

609(a). See generally, United States vs. Garcia, 291 F. 3d 127, 137-138 (2nd Cir. 2002).

       The defense is aware of four (4) New York State criminal and criminal-related

convictions in Mr. Padua’s history. They are as follows:

                i.       Disorderly conduct in violation of N.Y.S. Penal Law §240.20
                        conviction from February 24, 2011. Sentence imposed $200 fine;

                ii.     Petit larceny in violation of N.Y.S. Penal Law §140.35 conviction from
                        June 6, 2011. Sentence imposed: $300.00 fine);

                iii.    Attempted burglary in violation of N.Y.S. Penal Law §140.20
                        conviction from January 18, 2017. Sentence imposed: five years’
                        probation; and

                iv.     Attempted Assault in the third degree in violation of N.Y.S. Penal Law
                        §120.00(1) conviction on May 22, 2017. Sentence imposed: conditional
                        discharge; order of protection.

       As of the filing of this motion, the defense has not received notification from the

government that it intends to utilize any of these convictions to cross-examine the defendant.

However, Mr. Padua moves in limine pursuant to F.R.E., 609(b) to preclude cross-examination

regarding these prior convictions should Mr. Padua testify at trial.

        In pertinent part, F.R.E. 609 reads as follows:

               (a)     In General. The following rules apply to attacking a
                       witness’s character for truthfulness by evidence of a
                       criminal conviction:



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               (1)     for a crime that, in the convicting jurisdiction, was
                       punishable by death or by imprisonment for more than one
                       year, the evidence:

               (A)     must be admitted, subject to Rule 403, in a civil case or in a
                       criminal case in which the witness is not a defendant; and

               (B)     must be admitted in a criminal case in which the witness is
                       a defendant,if the probative value of the evidence
                       outweighs its prejudicial effect to that defendant; and

               (2)     for any crime regardless of the punishment, the evidence
                       must be admitted if the court can readily determine that
                       establishing the elements of the crime required proving—or
                       the witness’s admitting—a dishonest act or false statement.

               (b) Limit on Using the Evidence After 10 Years. This subdivision
                   (b) applies if more than 10 years have passed since the witness’s
                   conviction or release from confinement for it, whichever is later.
                   Evidence of the conviction is admissible only if:

               (1)     its probative value, supported by specific facts and
                       circumstances, substantially outweighs its prejudicial
                       effect; and

               (2)     the proponent gives an adverse party reasonable written
                       notice of the intent to use it so that the party has a fair
                       opportunity to contest its use.


        As the Second Circuit has confirmed, “[b]oth Rule 609 and Rule 403… oblige the trial

court to assess the probative value of every prior conviction offered in evidence and the

remoteness of a conviction, whatever its age, is always pertinent to this assessment. Satisfying

the ten-year provision of Rule 609 does not justify the automatic admission of a prior conviction

under that rule nor assure that it has the requisite probative value under Rule 403.” United States

v. Figueroa, 618 F.2d 934, 942 (2d Cir. 1980). Although the standard is highly deferential, the

broad discretion afforded to district courts in weighing the admissibility of evidence under Rule

403 “is not limitless.” United States v. Monsalvatge, 850 F.3d 483, 498 (2d Cir. 2017), citing

United States v. Morgan, 786 F.3d 227, 232 (2d Cir. 2015).


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                 a.    Petit Larceny Conviction

        The February 2011 petit larceny conviction should be precluded as it occurred more than

ten years ago and its probative value does not substantially outweigh its prejudicial effect; and

it provides little insight into Mr. Padua’s ability to provide credible testimony. Such evidence

would also run afoul of Rule 403, which prohibits evidence “if its probative value is substantially

outweighed by a danger of one or more of the following: unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”

Fed. R. Evid. 403.

                 b.    Disorderly Conduct Conviction

                 The June 6, 2011 Disorderly Conduct violation should be precluded because:

(1) it has no relevance to the defendant’s character for truthfulness; (2) is not even a “criminal

conviction” (see, N.Y. Penal Law § 10.00(6) (defining “crime” as either a misdemeanor or

felony); N.Y. Penal Law § 240.20 (characterizing disorderly conduct as a “violation”); (3) does

not implicate a dishonest act or false statement; and (4) occurred more than ten years ago. The

presentation of this adjudication to a criminal jury presents zero probative value on the issue of

truthfulness. The unduly prejudicial effect of its admission, however, would be substantial.

                 C.    Attempted Burglary Conviction

     The January 18, 2017 Attempted Burglary conviction should be precluded as the slight

probative value of this conviction in establishing whether Mr. Padua is a truth-teller does not

outweigh its prejudicial effect. As the defense is unaware of the underlying allegations, it is

unclear whether this burglary offense included larceny, a crime of dishonesty, as the underlying

crime intended to be committed inside the building in question. That the

defendant only received a sentence of probation likely means there no injuries suffered during

this incident.


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                i.     NYS Probation Status

       In addition, Mr. Pauda moves in Limine to preclude cross-examination of his New York

State Probation Status and any trial exhibits referencing same (See Docket No. 68, Govt. Ex. A

034-041). Such testimony is irrelevant and invites improper speculation by the jury and does

not go to Mr. Pauda’s truth or veracity. Any evidence related to Mr. Padua’s status on probation,

should be excluded pursuant to Fed.R.Evid Rule 403 because its probative value as evidence of

intent is substantially outweighed by its unfairly prejudicial effect. The only probative value of

this testimony is for the jury to draw an improper inference that Juan Padua is a person of bad

character or someone with criminal propensities. The testimony is inflammatory and unfairly

prejudicial to the Defendant.

       As indicated below, counsel is moving to suppress all of Mr. Padua’s statements

following his invocation of counsel. Moreover, the probative value of these comments do not

substantially outweigh its obvious prejudicial effect. That Mr. Padua may be on probation from

the 2017 burglary (referenced above) has little to no probative value in assisting the jury in its

evaluation of the defendant’s credibility as a witness.

       D.      Attempted Assault Conviction

        Finally, the May 22, 2017 Attempted Assault conviction should be precluded, as it does

not implicate a dishonest act or false statement, and its probative value does not substantially

outweigh its prejudicial effect.     Such evidence would also run afoul of Rule 403, which

prohibits evidence “if its probative value is substantially outweighed by a danger of one or more

of the following: unfair prejudice, confusing the issues, misleading the jury, undue delay,

wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403.

       Accordingly, the Government’s should be precluded from introducing evidence or cross-

examination of Mr. Padua’s prior conviction or probation status.


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       VII.    Preclude Statement of Non-Testifying Co-Conspirators; preclude the
               Government from introducing Co-Defendant, Michael Vasquez, Statements;
               and Severance

       On July 23, 2020, after their arrest, Mr. Padua and Mr. Vasquez were transported to the

DEA Buffalo Resident Office. At that time Mr. Padua and Mr. Vasquez were both advised of their

Miranda rights and were subjected to a custodial interrogation. During a videotaped interrogation,

co-defendant Vasquez made the following post-Miranda statements to the DEA, which

predominantly incriminate Mr. Padua:

           a. 4:50 pm          Vasquez paid Mr. Padua money but Padua did not know
                               anything about the drug conspiracy (see also, Complaint affidavit,
                               at 8);

           b. 4:52 pm          Vasquez said Padua had done this one other time;

           c. 4:53 pm          Vasquez said Padua called Vasquez and said he needed

                               money – Vasquez said Padua would receive $ 1000;

           d. 4:55 pm          Vasquez met Padua at school; Padua called from

                               Utica – this may have been how they met.

       On January 19, 2021, Mr. Padua moved to exclude the co-defendant’s statements, under

Bruton at the defendants’ joint trial of this indictment. See, Dkt. 36, at 15. The government

responded on March 10, 2021, by rejecting the applicability of Bruton, further indicating that a

preliminary examination under F.R.E. 104(a), Bourjaily v. United States, 483 U.S. 171 (1987)

and F.R.E. 801(d)(2)(E) should occur. See, Dkt. 45, at 7-8. This Court issued a scheduling order

on July 26, 2021, Dkt. 56 at 4, requiring that defense motions in limine be filed on or before

September 20, 2021.

       On September 13, 2021, the government confirmed it intended on having DEA Special

Agent David Turner “testify to the defendants’ statements.” See, Dkt. 62, at pp. 2-3 (witness

#3). As of the date of the filing of these motions, Vasquez has not pleaded guilty. The testimonial

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statements made by Mr. Vasquez to law enforcement on July 23, 2020, must be excluded at his

joint trial with Mr. Padua.

        The Sixth Amendment guarantees a criminal defendant “the right . . . to be confronted

with the witnesses against him.” U.S. Const. amend. VI; see, Washington v. Griffin, 876 F.3d

395, 404 (2d Cir. 2017), citing Pointer v. Texas, 380 U.S. 400, 403 (1965). In Crawford v.

Washington, 541 U.S. 36 (2004), the Supreme Court held that the Confrontation Clause bars

out-of-court “testimonial” statements against a criminal defendant by a witness who is absent

from trial unless the defendant had a prior opportunity to cross-examine the declarant. Id. at 68;

Griffin, 876 F.3d at 404. Although the Court declined “to spell out a comprehensive definition

of ‘testimonial,’” it made clear that “[w]hatever else the term covers, it applies at a minimum to

prior testimony at a preliminary hearing, before a grand jury, or at a former trial; and to police

interrogations.” Crawford, 541 U.S. at 68 (emphasis added). The Confrontation Clause,

however, “does not bar the use of testimonial statements for purposes other than establishing

the truth of the matter asserted.” Id. at 59, n.9.

       In Bruton, the Supreme Court addressed Confrontation Clause claims in the context of

out-of-court statements by non-testifying co-conspirators implicating a defendant in the charged

crime. Bruton dealt with the oral confession of the defendant’s co-conspirator that was admitted

at their joint trial. Bruton, 391 U.S. at 124. The confession, which implicated the defendant,

violated the defendant’s right to confrontation, as the co-conspirator did not testify. Id. at 128;

see also, United States v. Reichberg, __ Fed. Appx. __ , 2021 US App. Lexis 20935, at *19-20,

n 37 (2d Cir. July 15, 2021), citing Richardson v. Marsh, 481 U.S. 200, 201-202, 206-209 (1987)

(explaining Bruton).

        Our facts are on all fours with Crawford, Bruton and their progeny. It is plain from the

July 23rd video-taped statements of Mr. Vasquez that he was being subjected to custodial


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interrogation by two federal agents. These were testimonial statements that directly implicated

and incriminated Mr. Padua. This is the government’s strongest direct evidence against Mr.

Padua. In other words, these statements “standing alone, would clearly inculpate [Mr. Padua]

without the introduction of further independent evidence.” Reichberg, supra at *19, n 38, citing

United States v. Delgado, 971 F.3d 144, 155 (2d Cir. 2020). They are thus encompassed under

Crawford and Bruton. Indeed, Mr. Padua will be left without the ability to confront Mr.

Vasquez, who has no obligation to testify. “If the justification for a joint trial is outweighed by

the prejudice to the co-defendants, the trial court can confront the prosecutor with the choice of

forgoing either the evidence or the joint trial.” United States v. Figueroa, 618 F.2d 934, 944-

945 (2d Cir. 1980). At bar, the Vasquez testimony must be excluded or the trials of these two

defendants should be severed.


VIII.            Preclude the Government from introducing Co-Defendant, Michael
                 Vasquez’s Plea Allocution in the event Mr. Vasquez enters a guilty
                 plea prior to the start of this trial

         Should Mr. Vasquez plead guilty in this action, it would constitute reversible error to

admit his plea allocution at Mr. Padua’s trial if Vasquez does not testify - - unless he is

unavailable and Mr. Padua has had a previously opportunity for cross-examination. United

States v. Riggi, 541 F.3d 94, 102 (2d Cir. 2008). The admission of this allocution would not be

sufficiently remedied by limiting jury instructions, as such instructions are not presumed to have

been followed where the prejudicial spillover is so overwhelming, as it would be at bar. Riggi,

541 F.2d at 104. Accordingly, Mr. Padua moves to preclude the admission of any plea allocution

minutes relative to purported co-conspirator Vasquez.

         IX.    Conduct a Pretrial Conspiracy Hearing

         The government is seeking to introduce at trial statements of the alleged co-conspirator

pursuant to F.R.E. 801(d)(2)(E). Pursuant to Bourjaily v. United States, 483 U.S. 171, Mr. Padua

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requests that the Court hold a pre-trial conspiracy hearing to assess the foundation for the

introduction of any statements made by alleged co-conspirators which the government will seek

to introduce against the defendant at trial. This is particularly necessary here where there is no

evidence that Mr. Padua knowledge of Vasquez’s plan to receive drugs sent at 174 Germain

Street. In fact, both defendants deny that the defendant knew of any drug conspiracy. Moreover,

Mr. Vasquez exculpates Mr. Padua during his custodial interrogation wherein he states that Mr.

Padua did not know anything about the drug distribution scheme. See Dkt. No. 9, Govt. Ex. 9.

       A co-conspirator’s statement is admissible against an accused only where the existence

of a conspiracy has been established, and the statement is made during and in furtherance of

the conspiracy. Bourjaily, 483 U.S. at 175; F.R.E. 801(d)(2)(E). As the Second Circuit has

further explained:

                 Hearsay statements are admissible under the coconspirator
                 exception if the district court makes two findings by a
                 preponderance of the evidence: “first, that a conspiracy existed that
                 included the defendant and the declarant; and second, that the
                 statement was made during the course of and in furtherance of that
                 conspiracy.” In determining whether a conspiracy existed, the
                 district court may consider the hearsay statement itself, but “‘there
                 must be some independent corroborating evidence of the
                 defendant's participation in the conspiracy.’”

United States v. Desena, 260 F.3d 150, 157-158 (2d Cir. 2001) (internal citations omitted);

United States v. Daly, 842 F.3d 1380, 1386 (2d Cir. 1988).

           The government, however, claims one piece of evidence, a brief singular text

message, establishes a conspiracy between Vasquez and Mr. Padua. 1 On September 13, 2021,

the government revealed this information:


       1
          In its Motion in Limine (Dkt. No. 71), for the first time the Government indicates that
there is a text message from a phone associated with Mr. Padua to Mr. Vasquez. The phone
extraction was disclosed to defense counsel on September 16, 2021, and counsel is currently
working with F.P.D. Forensic Investigator Jerry Grant to review the extraction in its entirety.

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               The government was also just informed by investigators that one of
               the phones seized from the defendants at the time of their arrest
               was finally able to be analyzed. This is the phone belonging to
               defendant Vasquez. In the extraction report, there is a text
               exchange between Vasquez and a number that connects to Padua.
               The text exchange has a message from the number connected to
               Padua to Vasquez at the time the subject parcel is delivered that his
               “food” had arrived. Shortly after that text, Vasquez sends a
               message that he is “outside.” These messages correspond with the
               times when the subject parcel was delivered and when Vasquez
               was observed arriving to 174 Germain.

Dkt. 71, at pp. 6-7. In a footnote, the government indicates it “is not currently in possession of

the extraction report but has been briefed on its contents and will provide it to defense counsel

as soon as it is in possession of it.” Id. at 6. This sketchy piece of evidence, which the defense

has yet to analyze fully this extraction, is insufficient to establish a drug conspiracy.

       Early scholarship following Bourjaily recognized the importance of a District Court

requiring that there at least be the existence of a conspiracy when evaluating whether to admit

a co-conspirator’s statement. See, J. A. Alarcon, Suspect Evidence: Admissibility of Co-

Conspirator Statements and Uncorroborated Accomplice Testimony, 25 Loy. L.A. L. Rev.

953, at 957 (1992) (observing that “[n]othing in Bourjaily precludes the suppression of co-

conspirator statements if a district court has a reasonable doubt as to whether the government’s

proof establishes that the defendant was a member of a conspiracy. Under such circumstances,

it appears to be the duty of the district courts to deny admission of coconspirator statements

notwithstanding their relevance and admissibility under Rule 104(a).”). The Federal Rules of

Evidence ultimately expanded on Bourjaily. See, Notes of Advisory Committee on 1997

Amendments to F.R.E. 801(d)(2) (observing that “[t]he amendment resolves an issue on which

the [Bourjaily] Court had reserved decision. It provides that the contents of the declarant’s

statement do not alone suffice to establish a conspiracy in which the declarant and the

defendant participated. The court must consider in addition the circumstances surrounding the


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statement, such as the identity of the speaker, the context in which the statement was made, or

evidence corroborating the contents of the statement in making its determination as to each

preliminary question. This amendment is in accordance with existing practice. Every court of

appeals that has resolved this issue requires some evidence in addition to the contents of the

statement.”). The government will not be able to satisfy this burden.

         Accordingly, this Court should make a pre-trial evidentiary ruling on the admissibility

of the purported text message pursuant to Bourjaily and F.R.E. 801(d)(2)(E) so the jury is not

prejudiced by its content.

               X.      Preclude the Government from Conditionally Admitting Evidence
                       (Dkt. No. 71)

       Mr. Padua objects and moves to prohibit the Government from conditionally admitting

evidence based upon the Defendant’s aforementioned request for a pre-trial conspiracy hearing.

In its Motion in Limine (Dkt. No. 71), the government indicated that it is seeking to conditionally

admit evidence during its case-in- chief. The reason for the conditional admittance of evidence is

two-fold. One, due to the COVID-19 pandemic, the Government is not in a position to accurately

predict the scheduling of witness testimony. There will likely be issues that arise during jury

selection and during trial testimony that will result in a delay in the proceedings. Two, due to

witnesses schedules, the government may need to move testimony around to accommodate those

schedules. This request to conditionally admit evidence will one, streamline the proof, and

two, avoid needless confusion amongst the jurors.

       First, the Government states that it may “be seeking to conditionally admit evidence during

its case-in-chief” because the COVID-19 pandemic may cause issues with predicting the

scheduling of witness testimony, and because it may need to move testimony around to

accommodate those schedules. See Dkt. 71, pg. 9. What the government fails to mention in its

motion is any specified requests for testimony that would need to be conditionally admitted. It

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would impossible for the court to rule on an issue of conditional admissibility without actually

assessing the testimony that is sought to be admitted.

       In its motion, the Government relies on Huddleston v. United States, 1085 S. Ct. 1496

(1988), to support its argument that its motion to seek conditionally admitted evidence should be

granted. While Huddleston is relevant in that Federal Rule of Evidence 104(b) deals with questions

of conditional relevance, the governments reliance on a sweeping generalization is misplaced. In

Huddleston, the court dealt with a piece of evidence first being admissible under Federal Rule of

Evidence 404(b), and only then relied on F.R.E. 104(b) to determine its admissibility. The

Huddleston court stated, “that the Government may parade past the jury a litany of potentially

prejudicial similar acts that have been established or connected to the defendant only by

unsubstantiated innuendo.” Pg.1501. It was only after the Huddleston court determined that the

evidence was admissible and relevant that it turned to the analysis of conditional relevance: “Such

questions of relevance conditioned on a fact are dealt with under Federal Rule of Evidence 104(b).

Beechum, supra, at 912–913; see also E. Imwinkelried, Uncharged Misconduct Evidence § 2.06

(1984).” Id. Here, the government has not sought to introduce any specific piece of evidence

conditionally and therefore it would be impossible for the court to assess whether the evidence the

government seeks to conditionally admit would be admissible.

       XI.      Preclude Cell Phone Extraction And Government Expert Witness Due To
                Government’s Failure To Comply With Rule 16 And Their Obligation To
                Timely Decrypt and Produce Electronic Evidence


       For the reasons set forth below, the Court must preclude the Government’s from

introducing at trial the cell phone extraction disclosed to the Defense on September 16, 2021. 2 The

Government took possession of electronic materials relevant to this case on July 23, 2020 3, more


       2
           See Dkt. No. 71, p. 6.
       3
           On July 31, 2020, Magistrate Judge Roemer issue a Search Warrants authorizing the

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than year ago. However, the Government not did produce those materials to Defendants until

September 16, 2021. 4 The Government’s failure to produce relevant evidence to the defense

violates the principles of full and fair disclosure contemplated by the Constitution and federal

criminal law. It implicates concerns regarding Defendants’ right to a speedy trial, and Defendant’s

Constitutional Rights as outline in Frye and Lafler. And it threatens to cause substantial and

incurable prejudice.

       The Court set a deadline for Rule 16 Discovery in this case. That date was December 20,

2020. See Dkt. 18. At no point in time did the Government seek an extension of this deadline.

The late production of this discovery is violates Rule 16 and extremely prejudicial to Mr. Padua

and as such the Court should preclude its use at trial noncompliance with a discovery mandate

pursuant to Federal Rule of Criminal Procedure 16(d)(2).

       The law contemplates broad, full and fair disclosure to criminal defendants. “In criminal

cases, the government has broad disclosure obligations.” See United States v. Kifwa, 868 F.3d 55,

60 (1st Cir. 2017). “[T]he government's disclosures must be made in a timely manner.” Id. In

considering issues relating to the timing and substance of disclosure, the Court must ultimately

consider what is just under the circumstances. See Fed. R. Crim. P. 16(d)(2).

       Under Rule 16, it is well-settled that the District Court may set a deadline for the

Government’s processing and production of electronic information obtained incident to a search

warrant. See, e.g., United States v. Morgan, 2020 WL 5949366 at *2, 1:18-CR-00108 EAW

(W.D.N.Y. Oct. 8, 2020). Indeed, the W.D.N.Y. Local Rules of Criminal Procedure, Rule 12(a),

expressly directs that the Court “shall issue an order” establishing, inter alia, a discovery deadline,



search of the electronic devices seized on July 23, 2020.
       4
         In the event the Court denies defense motion to preclude the cellphone extraction, and
the Government’s Expert witness, the Defense request an extension of time with respect to its
Expert Witness disclosure and expert witness list.

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as well as a cut off for “such other matters as the Court deems appropriate in the exercise of its

discretion and supervisory powers”.

       The Morgan case is well-known in this district. A review of that decision is warranted on

this issue. The case was indicted on May 22, 2018. 2020 WL 5949366 at * 1. The original

scheduling order contemplated the completion of voluntary discovery by July 27, 2018. Id. Upon

a motion from the Government that it needed more time to complete processing and disclosure of

electronic devices seized incident to May 14 and May 15, 2018 search warrants, Magistrate Judge

Schroeder set a deadline for the processing and production of electronic evidence obtained incident

to the search warrant, requiring that the government complete its processing of the search warrant

material by September 28, 2018 and turn over Rule 16 material from the search warrant material

by October 12, 2018. Id. at * 2. The deadline for disclosure was later extended to July 31, 2019.

Id. at *6. The case proceeded, and the Government failed to meet the discovery deadlines imposed

by the Court – making late disclosures and failing to produce evidence from some devices entirely.

Id. at * 29. After a status conference and pre-trial motions by the defense, the Court held a hearing

regarding the Government’s ESI production, and dismissed the Morgan indictment, noting:



                  The Court reaches this conclusion primarily in view of the
         government's repeated missed deadlines resulting in the conditional interest
         of justice exclusion, the government's failure to produce by the July 31, 2019
         deadline any material from several of the devices seized over a year earlier,
         and the government's failure to approach its electronic discovery obligations
         with the necessary vigor required to manage ESI of this volume. Id.


       Certainly, when a government violates Rule 16, a district court “has broad discretion in

fashioning a remedy.” United States v. Walker, 974 F.3d 193, 204, (2d Cir. 2020). In considering

whether a district court appropriately exercises its discretion in granting a particular remedy, if

any, for a Rule 16 violation, the factors considered are “the reasons why disclosure was not made,


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the extent of the prejudice, if any, to the opposing party, the feasibility of rectifying that prejudice

by a continuance, and any other relevant circumstances.” United States v. Lee, 834 F.3d 145, 159

(2d Cir. 2016) (quoting United States v. Pineros, 532 F.2d 868, 871 (2d Cir. 1976)) (finding that

district court did not abuse discretion in admitting the defendant's oral statement that was not

previously disclosed). To prove substantial prejudice under this framework, a defendant “must

demonstrate that the untimely disclosure of the [evidence] adversely affected some aspect of his

trial strategy.” Walker, 974 F.3d at 204, (quoting Lee, 834 F.3d at 158) (alteration in original).

Where late disclosure occurs, it may be appropriate to grant a continuance, see United States v.

Monsanto Lopez, 798 F. App'x 688, 690-91 (2d Cir. 2020) (finding that even if Rule 16 violation

occurred, district court “was well within its broad discretion” to grant a continuance of the trial as

opposed to excluding the evidence), or in a particularly egregious case, a new trial may be

warranted, see United States v. Vinas, 910 F.3d 52, 54 (2d Cir. 2018) (district court erred in

denying defendant's request for new trial where the government's inaccurate pre-trial disclosure

under Rule 16(a)(1)(A) caused the defendant to forgo moving to suppress an inculpatory statement

introduced at trial that he made before receiving Miranda warnings).

        Similarly, in another decision concerning the belated production of ESI by the

Government, the Court in United States v. Brown, 308 F.Supp.3d 620, 627-28 (D. R.I. 2018) noted

“[t]he timely disclosure requirement of Rule 16 is only effective if the government timely analyzes

and tests the evidence it has in its possession. This is the only way to ensure that the discovery

process proceeds fairly, justly, and effectively. Due diligence on the part of the government is an

implicit requirement of Rule 16. If the government were allowed to sit on evidence, and wait until

the last minute to analyze the evidence, and then claim the results just came into their possession,

it would blow a huge hole in the government's disclosure obligation under the rules.” It is




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noteworthy that the Government has not shown any effort it has undertaken to decrypt, analyze or

produce the ESI material in this case. This is precisely what occurred here.

        Beyond the requirement that the Government diligently produce Rule 16 discovery, setting

a discovery deadline is critical for several reasons. First, and perhaps most importantly, the timely

production of relevant evidence directly implicates concerns under the Speedy Trial Act, 18 U.S.C.

§ 3161 et seq. Section 3161(h) of the Act specifies the types of delays that are excludable from the

speedy trial calculation, some of which are automatically excludable, but others of which are

excludable only if a court makes certain findings enumerated in the statute. See Bloate v. United

States, 559 U.S. 196, 203, (2010). The time needed for the Government to produce voluntary

discovery and for the defense to prepare pretrial motions is not automatically excluded from the

speedy trial clock, and therefore to stop the speedy trial clock an exclusion in the interests of justice

must be granted pursuant to 18 U.S.C. § 3161(h)(7).

        The Supreme Court has recognized the need for “procedural strictness” in granting an

exclusion pursuant to § 3161(h)(7):

                The exclusion of delay resulting from an ends-of-justice
        continuance is the most open-ended type of exclusion recognized under
        the Act and, in allowing district courts to grant such continuances,
        Congress clearly meant to give district judges a measure of flexibility in
        accommodating unusual, complex, and difficult cases. But, it is equally
        clear that Congress, knowing that the many sound grounds for granting
        ends-of-justice continuances could not be rigidly structured, saw a danger
        that such continuances could get out of hand and subvert the Act's detailed
        scheme. The strategy of § 3161(h)[7] ... then, is to counteract substantive
        open-endedness with procedural strictness. This provision demands on-
        the-record findings and specifies in some detail certain factors that a judge
        must consider in making those findings.

        See Zedner v. United States, 547 U.S. 489, 508-09, 749 (2006). The failure comply with

those requirements cannot be fixed after the fact—in other words, a court may not retroactively

determine that the ends of justice support an exclusion of time. United States v. Tunnessen, 763

F.2d 74, 77 (2d Cir. 1985).Moreover, a deadline is also important because of the potential prejudice

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done to the defendant when important materials are not disclosed in a timely manner. Simply put,

when evidence is not disclosed in a timely manner, it is likely that a criminal defendant will lose

the ability to identify witnesses and pursue investigative leads critical to defense at trial. While the

Government’s brief suggests a continuance is an appropriate remedy for late disclosure, the

remedy often misses the mark -- witnesses’ memories fade, and other evidence related to the late

disclosed evidence is destroyed or erased with the passage of time. Accordingly, as the Court did

in Morgan, this Court should preclude any an all testimony regarding the cellphone extraction and

preclude testimony of Government Expert Witness, Christine Siedsma, due to the Government’s

failure to comply with Rule 16 and their obligation to timely decrypt and produce electronic

evidence.


        XII.    Preclude Any Law Enforcement Fact Witnesses From Testifying As An
                Expert


        The defense advises the Court that an evidentiary issue may arise concerning the police

testimony regarding various items of physical evidence recovered during the investigation. The

evidentiary issue involves the use of law enforcement officials to provide expert testimony

regarding the aforementioned seized property. It is anticipated that the expert testimony will be in

the form of sweeping conclusions about the use of the items, and the activities of individuals in

proximity of these items. Such conclusions will usurp the jury’s function. 5

        Fed. R. Crim. P. 702 governs the admissibility of expert testimony. The rule provides that:

                [I]f scientific, technical, or other specialized knowledge will assist
                the trier of fact to understand the evidence or to determine the fact
                in issue, a witness qualified as an expert by knowledge, skill,
                experience, or training, or education, may testify thereto in the form
                of an opinion or otherwise, if


        5
         See a more detailed analysis set forth in Defendant’s Motion in Limine to exclude FBI
Special Agent Clinton Winters (Docket No. 78).

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                       (1) the testimony is based on sufficient facts or data,
                       (2) the testimony is the product of reliable principles
                       and methods, and (3) that when this is applied the
                       principles and methods viably to the facts of the case.

       Fed. R. Evid. 702


       When the Government seeks to introduce expert testimony in accordance with Rule 702

the District Court must serve as a gatekeeper because the principles pertaining to expert testimony

apply with full force where law enforcement officials are called on to provide scientific, technical

or other specialized knowledge to the trier of fact. See United States v. Cruz, 363 F.3d. 187, 192

(2nd Cir. 2004) (citing Fed..R.Evid. 702 advisory committee note to the 2000 Amendments

(discussing the application of Rule 702 to a law enforcement official’s expert opinion)). See also

United States v. Dukagjini, 326 F. 3d. 45, 54 (2nd Cir. 2003) (noting that testimony admissible

under Rule 702 may nevertheless implicate issues under Rule 403).

       The evidentiary issue regarding the use of police experts may also involve police testimony

that his expert opinions were based on his knowledge of the entire investigation. Such testimony,

whether labeled expert or not, would convey to the jury that the police expert was testifying based

on information not before the jury causing the jury to think that the police expert had knowledge

beyond what was before them and that this information proved Mr. Padua’s guilt. Such testimony

is improper under Dukagjini. See Dukagjini, 326 F.3d. 53 (expressing concern about a government

witness testifying as an expert on coded language and then going beyond interpreting the code and

summarizing his beliefs about the defendant’s conduct based on his knowledge of the case).

       Lastly, such police expert testimony will allow the police officers factual testimony to be

presented to the jury with an aura of expertise and authority which will increase the risk that the

jury will be swayed by their factual testimony rather than relying on the jury’s own interpretation

of the facts before them. See United States v. Borrow, 400 F.3d. 109, 124 (2nd. Cir. 2005) (noting


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that caution should be used when presented with the issue of allowing law enforcement officers to

testify as both a factual and an expert witness).



               XIII. Reserving the right to file additional motions

       The defendant respectfully requests to reserve its right to submit supplemental

memorandum to the Court on other issues, should the need arise after the filing of this motion.

This request is based on the fact that additional issues may arise during trial preparation, and to

facilitate the Court’s consideration of those evidentiary issues.

               XIV.     Conclusion

       Mr. Padua, respectfully reserves his right to supplement these motions In Limine once the

Government provides the material previously requested, or because of additional information

developed through continued investigation.

       WHEREFORE, Mr. Padua respectfully moves for an Order of this Court as follows:



       I.      Suppress Mr. Padua’s Post-Arrest Custodial Statement after his Assertion Sixth
               Amendment Right to Counsel;

       II.     Preclude testimony, comments or arguments regarding Mr. Padua’s post-arrest
               assertion his Fifth and/or Sixth Amendment rights;

       III.    Preclude the Government from admitting evidence or testimony from any
               witnesses regarding prior bad acts, and Response to Government’s Motion to
               Introduce a Prior Bad Acts under F.R.E. 404(b);

       IV.     Denying Government’s Motion to Preclude Defendant from Introducing
               Self-Serving Hearsay through Cross-Examination of Government Agents;
               in the alternative granting Mr. Padua’s Motion to Admit his Statements Against
               Penal Interest to Exculpate;




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 V.      Preclude the Government from admitting evidence or testimony from any
         witnesses regarding: (a) Mr. Padua’s “Threats” regarding co-defendant, Michael
         Vasquez; Mr. Padua’s prior drug dealing as contained in his videotape
         interrogation, and (c) the fact he was a victim of a shooting pursuant to F.R. E.
         404(b);

 VI.     Preclude Cross-Examination of Mr. Padua       Regarding Certain Prior Convictions
         Pursuant to F.R.E., 609(b)

 VII.    Preclude Statements By Non- testifying Co-Conspirators; prohibit the
         Government from introducing Co-Defendant, Michael Vasquez’s, Statement;
         and Severance;

 VIII.   Preclude the Government from introducing Co-Defendant, Michael Vasquez’s
         Plea Allocution in the event Mr. Vasquez enters a guilty plea prior to the start of
         this trial;

 IX.     Conduct a Pretrial Conspiracy Hearing;

 X.      Preclude Government from Conditionally Admitting Evidence;

 XI.     Preclude Cellphone Extraction and Government’s Expert Witness Due To
         Government’s Failure To Comply With Rule 16 and Obligation To Timely De-
         encrypt and Produce Electronic Evidence;

 XII.    Preclude Any Law Enforcement Fact Witnesses From Testifying As An Expert;

 XIII.   Reserving the right to file additional motions; and

 XIV. Granting such other and further relief as this Court deems just and fair.


 DATED:                 Buffalo, New York, September 20, 2021

                                       Respectfully submitted,

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